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                                  CAUSE NO.___________________

 PAUL MARTIN BLOYD,                               §                  IN THE DISTRICT COURT OF
                                                  §
            Plaintiff,                            §
                                                  §
 v.                                               §
                                                                        HARDIN COUNTY, TEXAS
                                                  §
 BLANN TRACTOR CO., INC.                          §
 and RICKY LYNN WARE,                             §
                                                  §
            Defendants.                           §               __________ JUDICIAL DISTRICT

                                PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff Paul Martin Bloyd files this Original Petition complaining of Blann Tractor Co.

Inc. (hereinafter “Defendant Company”) and Ricky Lynn Ware (hereinafter “Defendant Driver”)

for cause of action respectfully shows the Court as follows:

            I.    RELIEF SOUGHT AND LEVEL OF DISCOVERY CONTROL PLAN

        1.         Plaintiff intends to conduct discovery under Level 3 of Rule 190 of the Texas Rules

of Civil Procedure. Plaintiff requests that Defendants advise, upon receipt of this Original Petition,

whether an agreed order may be submitted to the Court providing for Level 3 discovery.

        2.         The damages sought are within the jurisdictional limits of the Court. Plaintiff seeks

monetary relief over $1,000,000.00 and demand judgment for all other relief for which Plaintiff is

entitled.

                                      II.    PARTIES: PLAINTIFF

        3.         Plaintiff Jeremy Berry is an individual residing in Texas.

                                   III.     PARTIES: DEFENDANTS

        4.         Defendant Blann Tractor Co. Inc. is a for-profit Arkansas company. This defendant

does not have registered agent for service of process in Texas but may be served through the Texas



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Secretary of State at its headquarters, 1536 East US Highway 278, Hampton, Arkansas, 71744.

Plaintiff requests a citation.

        5.      Defendant Ricky Lynn Ware is an individual and resident of Arkansas. This

defendant may be served at his last known address 363 Court Taylor Road, El Dorado, Arkansas

71730 or wherever he may be found. Plaintiff requests a citation.

                                 IV.     JURISDICTION AND VENUE

        6.      The Court has subject matter jurisdiction because the amount in controversy

exceeds the Court’s jurisdictional minimum.

        7.      Venue is proper in Hardin County, Texas under § 15.002(a) of the Texas Civil

Practice & Remedies Code, as Hardin County is the county where the events giving rise to this

claim occurred.

                                   V.        FACTUAL BACKGROUND

        8.      This lawsuit arises out of a motor vehicle collision that occurred on or about

November 17, 2021, in Lumberton, Texas. At that time, Plaintiff was on US 96 when Defendant

Driver failed to control his speed and smashed into the back of Plaintiff’s vehicle, causing severe

injuries and extensive damage. At all relevant times, Defendant Driver was acting in the course

and scope of his employment with Defendant Company and acting in furtherance of a mission for

that Defendant’s benefit and subject to its control.

                                       VI.    CAUSES OF ACTION

    A. Negligence and Gross Negligence: Defendant Company and Defendant Driver

        9.      Plaintiff repeats and re-alleges each allegation contained above.

        10.     Plaintiff sustained injuries because of the negligence and gross negligence of the

Defendants when Defendant Company and Defendant Driver:

                a. Failed to maintain a safe speed;


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                b. Failed to maintain a safe distance;

                c. Failed to pay attention to the road ahead;

                d. Failed to exercise caution;

                e. Failed to yield;

                f. Failed to keep a proper lookout;

                g. Failed to operate the vehicle safely;

                h. Violated applicable rules, regulations, and traffic laws;

                i. Failed to properly supervise its employees;

                j. Failed to properly train its employees; and

                k. Other acts deemed negligent and grossly negligent.

        11.     On balance, Defendants owed a duty consistent with the foregoing and breached

each of the foregoing duties. These breaches were both the cause in fact and proximate cause of

Plaintiff’s injuries. As a result of Defendants’ negligence, Plaintiff suffered severe physical injury.

Plaintiff is entitled to recover for these injuries.

        12.     Additionally, the actions/inactions of Defendants were done with a reckless

disregard to a substantial risk of severe bodily injury.

    B. Negligence Per Se: Defendant Company and Defendant Driver

        13.     Plaintiff repeats and re-alleges each allegation contained above.

        14.     Defendants’ conduct described herein constitutes an inexcusable breach of duties

imposed by the Texas Transportation Code, including, but not limited to: Sections 544.004,

544.010, 545.153, and 545.401.

        15.     Plaintiff is a member of the class that the aforementioned sections of the Texas

Transportation Code were designed to protect.




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       16.      Defendants’ inexcusable breach of the duties imposed by the above sections of the

Texas Transportation Code proximately caused Plaintiff’s injuries described herein.

   C. Respondeat Superior: Defendant Company

       17.      Plaintiff repeats and re-alleges each allegation contained above.

       18.      At the time of the collision and immediately prior thereto, the driver of the vehicle

was within the course and scope of employment for Defendant Company.

       19.      At the time of the collision and immediately prior thereto, the Defendant Driver

was engaged in the furtherance of Defendant Company’s business.

       20.      At the time of the collision and immediately prior thereto, the Defendant Deriver

was engaged in accomplishing a task for which he was employed by Defendant Company.

       21.      Plaintiff invokes the doctrine of Respondeat Superior against Defendant Company

for the conduct of Defendant Driver.

   D. Agency: Defendant Company

       22.      Plaintiff repeats and re-alleges each allegation contained above.

       23.      At and during the time of the actions and/or omissions complained of herein, any

acts and/or omissions committed by an agent, representative, or employee of Defendant Company

occurred within the scope of the actual or apparent authority of such person on behalf of Defendant

Company.

       24.      Therefore, Defendant Company is liable to Plaintiff for the acts and/or omissions

of any such agent, representative, or employee complained of herein by virtue of such agency

relationship.

   E. Negligent Hiring: Defendant Company

       25.      Plaintiff repeats and re-alleges each allegation contained above.




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       26.     Plaintiff sustained injuries as a result of Defendant Company’s negligent hiring

because of Defendant Company’s:

               a. Failure to conduct a reasonable and adequate interview of Defendant Driver as
                  a potential employee;

               b. Failure to properly follow up on information not provided by Defendant Driver
                  in the interview process;

               c. Failure to conduct a proper employment and background check of Defendant
                  Driver;

               d. Failure to sufficiently investigate Defendant Driver’s training, prior
                  employment, criminal record, and past;

               e. Failure to perform the required screening, testing, and physical of Defendant
                  Driver;

               f. Failure to adopt proper policies and procedures regarding the interview of a
                  potential employee who will be driving Defendant Company’s vehicles on
                  interstate highways; and

               g. Commission of other and further acts of negligence as may be shown in the trial
                  of this cause as discovery progresses.

       27.     On balance, Defendant Company owed a duty consistent with the foregoing and

breached each of the foregoing duties. These breaches were both the cause in fact and proximate

cause of Plaintiff’s injuries. As a result of the Defendant Company’s negligent and grossly

negligent hiring, Plaintiff suffered severe injuries. Plaintiff is entitled to recover for injuries

sustained.

       28.     Additionally, the actions/inactions of Defendant Company were done with a

reckless disregard to a substantial risk of severe bodily injury. As such, Plaintiff is entitled to

exemplary damages.

   F. Negligent Training: Defendant Company

       29.     Plaintiff repeats and re-alleges each allegation contained above.




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        30.     Plaintiff sustained injuries as a result of Defendant Company’s negligent training

of Defendant Driver because of Defendant Company’s:

                a. Failure to explain and demonstrate its safety policies and procedures to
                   Defendant Driver;

                b. Failure to provide the necessary training to Defendant Driver regarding driving
                   this vehicle, vehicle safety, safety classes, how to properly and safely drive the
                   vehicle, the proper method to maintain a vehicle, the proper way and the
                   necessity of keeping the vehicle clean and in proper working order, and in all
                   matters regarding the proper and safe operation of the vehicle and maintenance
                   of the vehicle in various situations;

                c. Failure to properly train its drivers regarding all aspects of driver safety;

                d. Failure to train its employees, including Defendant Driver, regarding safe and
                   proper operation of a vehicle such as a person and/or company of ordinary care
                   would have done in the same or similar circumstances;

                e. Failure to provide and/or require follow-up driver education and training;

                f. Commission of other and further acts of negligence as may be shown in the trial
                   of this cause as discovery progresses.

        31.     On balance, Defendant Company owed a duty consistent with the foregoing and

breached each of the foregoing duties. These breaches were both the cause in fact and proximate

cause of Plaintiff’s injuries. As a result of Defendant Company’s negligent and grossly negligent

training, Plaintiff suffered severe injuries, for which Plaintiff is entitled to recover.

        32.     Additionally, the actions/inactions of Defendant Company were done with a

reckless disregard to a substantial risk of severe bodily injury. As such, Plaintiff is entitled to

exemplary damages.

    G. Negligent Supervision, Retention, and Monitoring: Defendant Company

        33.     Plaintiff repeats and re-alleges each allegation contained above.

        34.     Plaintiff sustained injuries as a result of the negligent supervision, retention, and

monitoring of Defendant Company because of Defendant Company’s:




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               a. Failure to monitor Defendant Driver to make sure he was complying with
                  policies and procedures;

               b. Failure to interview and test Defendant Driver to make sure he had read, and
                  was familiar with, understood, and followed the company policies and
                  procedures;

               c. Failure to implement proper policies and procedures for its employees,
                  including Defendant Driver, regarding driver safety and vehicle safety;

               d. Failure to document and make a determination regarding fault in the accident
                  made the basis of this suit;

               e. Failure to supervise Defendant Driver to ensure that he was keeping the vehicle
                  properly maintained; and

               f. Other and further acts of negligence as may be shown in the trial of this cause
                  as discovery progresses.

       35.     On balance, Defendant Company owed a duty consistent with the foregoing and

breached each of the foregoing duties. These breaches were both the cause in fact and proximate

cause of Plaintiff’s injuries. As a result of Defendant Company’s negligent and grossly negligent

supervision, retention, and monitoring, Plaintiff suffered severe injuries. Plaintiff is entitled to

recover for those injuries.

       36.     Additionally, the actions/inactions of Defendant Company were done with a

reckless disregard to a substantial risk of severe bodily injury. As such, Plaintiff is entitled to

exemplary damages.

   H. Negligent Entrustment: Defendant Company

       37.     Plaintiff repeats and re-alleges each allegation contained above.

       38.     Plaintiff sustained injuries as a result of Defendant Company’s negligent

entrustment because Defendants provided a vehicle and/or authority to Defendant Driver who was

not properly trained and did not have the proper education, background, training, or experience to

safely operate the vehicle, and who was an incompetent and/or reckless driver.




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        39.       On balance, Defendant Company owed duties consistent with the foregoing and

breached that duty. This breach was both the cause in fact and proximate cause of Plaintiff’s

injuries. As a result of Defendant Company’s negligent and grossly negligent entrustment of the

vehicle to Defendant Driver, Plaintiff suffered severe injuries. Plaintiff is entitled to recover for

those injuries.

    I. Ratification: Defendant Company

        40.       Plaintiff repeats and re-alleges each allegation contained above.

        41.       Defendant Company is responsible for the negligence and gross negligence of

Defendant Driver under the theory of ratification because Defendant Company:

                  a. Retained Defendant Driver after he committed the underlying tortious acts;

                  b. Knew of Defendant Driver’s tortious acts;

                  c. Recognized that Defendant Driver will likely continue to be negligent if he is
                     retained;

                  d. Recognized that Defendant Driver will likely continue to be grossly negligent
                     is he is retained;

                  e. Failed to take adequate measures to prevent Defendant Driver from committing
                     future tortious acts; and

                  f. Otherwise adopted, confirmed, or failed to repudiate Defendant Driver’s
                     negligent and grossly negligent conduct after Defendant Company gained
                     knowledge of the conduct.

                                         VII.    DAMAGES

        42.       Plaintiff repeats and re-alleges each allegation contained above.

        43.       As a direct result of the events described herein and Defendants’ actions and

conduct above, Plaintiff was seriously injured in the crash.




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        44.    Because of the nature and severity of the injuries sustained, Plaintiff has suffered

physical pain and mental anguish and, in reasonable probability will continue to suffer physical

pain and mental anguish in the future.

        45.    Because of the nature and severity of the injuries sustained, Plaintiff has suffered

physical impairment and, in reasonable probability, will continue to suffer physical impairment in

the future.

        46.    Because of the nature and severity of the injuries sustained, Plaintiff has suffered

disfigurement and, in reasonable probability, will continue to suffer disfigurement in the future.

        47.    Because of the nature and severity of the injuries sustained, Plaintiff has suffered a

loss of vocational opportunity and past and future earning capacity.

        48.    Because of the nature and severity of the injuries sustained, Plaintiff has required

medical treatment in the past and in reasonable probability will require other and additional

treatment in the future. Charges for such medical treatment that have been made in the past and

those which will in reasonable probability be made in the future have been and will be reasonable

charges made necessary by the crash.

                                    VIII.   TRIAL BY JURY

        49.    Plaintiff demands trial by jury.

                              IX.     RESERVATION OF RIGHTS

        50.    The allegations contained in this pleading are made acknowledging that the

investigation and discovery, although undertaken, are continuing in this matter. As future

investigation and discovery are conducted, additional facts will surely be uncovered that may and

probably will necessitate further, additional and/or different allegations, including the potential of




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adding additional parties to the case or dismissing parties from the case. The right to do so, under

Texas law, is expressly reserved.

                                X.     CONDITIONS PRECEDENT

          51.   All conditions precedent have been performed or have occurred.

                                XI.     REQUIRED DISCLOSURE

          52.   Pursuant to Texas Rule of Civil Procedure 194(a), Defendants are required to

disclose, within thirty (30) days of the filing of the first answer, the information or material

described in Rule 194.2(b)1-12. Any Defendant that is served or otherwise joined after the filing

of the first answer must make their initial disclosures within thirty (30) days after being served or

joined.

                                          XII.    PRAYER

          53.   WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be

cited to appear herein and answer, and upon final trial hereof, Plaintiff be awarded a judgment

against the Defendants, jointly and severally, that Plaintiff recover damages in accordance with

the evidence; costs of court; pre-judgment interest; post-judgment interest at the highest lawful

rate until the judgment is satisfied in full; and for any and all other relief, both general and special,

legal and equitable, which the Court deems to be fair and reasonable, and to which Plaintiff may

show just entitlement.




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                                              Respectfully submitted,


                                              /s/ Matthew Greenberg
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